                         UNITED STATES BANKRUPTCY COURT
                                MIDDLE DISTRICT OF PENNSYLVANIA
In re:


Stefania Alexandria Polokowski,                             Chapter         13
aka Stefania A. Polokowski, aka Stefania Polokowski,

          Debtor 1                                          Case No.        5:18−bk−04049−RNO


                                                       Order


    Upon consideration of the Motion to dismiss the case, and having afforded notice and an opportunity for hearing,

    ORDERED that the case is hereby dismissed as to Debtor 1.

   Notwithstanding the dismissal of this case, the court retains jurisdiction over timely requests for payment
of compensation.


Dated: February 6, 2020                                    By the Court,




                                                           Honorable Robert N. Opel, II
                                                           United States Bankruptcy Judge
                                                           By: CourtneyWojtowicz, Deputy Clerk

ordsmiss (05/18)




      Case 5:18-bk-04049-RNO            Doc 31 Filed 02/06/20 Entered 02/06/20 10:20:49                   Desc
                                        Order Dismissing Page 1 of 1
